                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  at CHATTANOOGA



UNITED STATES OF AMERICA                        )
                                                )
                                                )          No. 1:02-CR-187
v.                                              )
                                                )          Judge Curtis L. Collier
                                                )
DANIEL S. GEIGER                                )


                                          ORDER

       For the reasons stated in the accompanying memorandum, Defendant Daniel S. Geiger’s

motion for stay of execution of judgment pending appeal pursuant to Fed. R. Crim. P. 38(e) (Court

File No. 360) is DENIED.



       SO ORDERED.

       ENTER:



                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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